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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Jennifer A. Moran                             CHAPTER 13
       Wallace A. Moran III
                                                     BKY. NO. 19-13586 ELF

                              Debtor


                 ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

 To the Clerk:

         Kindly enter my appearance on behalf of Cenlar FSB as servicer for CMG Mortgage,
 Inc. and index same on the master mailing list.


                                                    Respectfully submitted,
                                                /s/ Kevin G. McDonald, Esq.
                                                Kevin G. McDonald, Esquire
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